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                Exhibit 13
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Capture URL: https://www.facebook.com/OneAmericaNewsNetwork/posts/2329610910517345
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Capture URL: https://www.facebook.com/OneAmericaNewsNetwork/posts/2329610910517345
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